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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF FLORIDA
TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

y Case No.: 4:21mj9-MAF

DANIEL ALAN BAKER

 

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
Your affiant, Nicholas Marti, being first duly sworn, hereby deposes and

states as follows:

I. INTRODUCTION

1. Your affiant is a “federal law enforcement officer” within the meaning
of Federal Rule Of Criminal Procedure 41(a)(2)(C), that is a government agent
engaged in enforcing the criminal laws and duly authorized by the Attorney General
to request a complaint. Your affiant is a Special Agent with the Federal Bureau of
Investigation (“FBI”) and has been so employed for approximately one (1) year and
four (4) months. Your affiant is currently assigned to the Jacksonville Field Office,
Tallahassee Resident Agency. As part of my duties, your affiant investigates crimes
including but not limited to Hobbs Act robberies, bank robberies, computer-related
crime, fraud, public corruption, offenses involving weapons of mass destruction,
national security matters, and others. Your affiant received training on the proper

investigative techniques for these violations, including the application and execution

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of arrest and search warrants. Your affiant has conducted and assisted in criminal
investigations and has been involved in the execution of search warrants and arrest
warrants. Prior to working as an FBI Special Agent, your affiant was a United States
Marine Corps combat engineer and a nuclear security officer from 2011 to 2019.

2. This Affidavit is based upon my personal knowledge, experience and
training, and other information developed during the course of this investigation.
Because this Affidavit is being submitted for the limited purpose of establishing
probable cause for a criminal complaint, I have not included each and every fact
known to me concerning this investigation or potential violations of other criminal
offenses. I have set forth only those facts I believe are necessary to establish probable
cause to show that the subject of this Criminal Complaint, Daniel Alan BAKER
(“BAKER”), has committed violation(s) of Title 18, United States Code, Section
875(c), which makes it a federal felony offense to “transmit[] in interstate or foreign
commerce any communication containing any threat to kidnap any person or any
threat to injure the person of another.”

Il. PROBABLE CAUSE

3. On October 8, 2020, the FBI was notified that BAKER was threatening
the use of violence in the United States and was using social media to recruit and
train like-minded individuals in furtherance of his Anti-Government or Anti-

Authority Violent Extremism Ideology. BAKER has made multiple violent threats
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to those he claims are white supremacists, fascists, United States persons with
different ideologies than his, and allies of the United States. In addition, BAKER
has promoted the killing of United States military officers.

4, As of recent, BAKER’s social media posts have escalated, indicating a
potential for immediate threat during upcoming protests in Tallahassee, Florida.
Due, in part, to recent violence around the country, your affiant believes that a fair
probability exists that BAKER may attempt to violently disrupt protests. Over the
past several months, BAKER has often utilized his social media platform to project
his displeasure with the current events unfolding in the United States as well as social
issues he believes to be plaguing the country, including police brutality.

5. Recently, however, BAKER has been posting messages and
multimedia to his Facebook, Instagram, and YouTube accounts that have been
increasingly ripe with extremist rhetoric.

6. From 2006 to 2007, BAKER was enlisted in the United States Army
as an airborne infantryman. He was removed from military service with an other-
than-honorable discharge after he went AWOL prior to his unit deploying to Iraq.
From 2008 to 2017, BAKER was homeless and unemployed. During that time, he
mainly resided in the Tallahassee, Florida area and worked occasionally as a security

guard.
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7. In 2017, BAKER joined the People’s Protection Units (“YPG”), a
group fighting in Syria against ISIS and the Turkish Government. The YPG is a sub-
affiliate of Kurdistan’s Working Party (“PKK”), which has been designated a
Foreign Terrorist Organization (“FTO”) by the United States government. BAKER
endorses himself on his social media as a trained sniper for the YPG.

8. As documented in a VICE documentary, BAKER can be seen fighting
ISIS or Turkish militants, as shown in a YouTube video. Through documented
interviews with FBI Special Agents, BAKER admitted to training members who
attended the YPG International Academy on military tactics and defensive tactics.
Multiple overseas sources reported that BAKER stated he intended to return to the
United States with the intention to lure Turkish pilots training on Unites States
military bases off the installation, after which he would kill or mutilate them in
furtherance of helping the YPG fight the Turkish government. BAKER returned to
the United States in April 2019 from the Middle East.

9. BAKER has traveled across the United States to participate in protests
that have resulted in violence to include joining the CHOP/CHAZ movement in
Seattle, Washington during the summer of 2020. CHAZ refers to the “Capitol Hill
Autonomous Zone” and CHOP refers to the “Capitol Hill Organized Protest,” which
was a protest and self-declared autonomous zone in the Capitol Hill neighborhood

of Seattle, Washington. BAKER has used social media as a way to promote,
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circulate, encourage and educate followers on how to incapacitate law enforcement
officers while at a protest. For instance, BAKER has posted and informed his
followers on how to debilitate law enforcement officers by filling up balloons with
paint and to throw them at law enforcement.

10. BAKER continues to threaten the use of violence in the United States
and has made multiple threats to those who he claims to be white supremacists,
fascists, United States persons with different ideologies than his, and allies of the
United States. BAKER has promoted the killing of United States military officers.
In addition, BAKER informed his followers on social media to prepare for war.

11. Your affiant is aware that BAKER owns multiple firearms. On January
14, 2021, BAKER posted on social media that he desired to purchase more firearms,
including an “ak or a pistol??” From your affiant’s training and experience, I know
that an “ak” generally refers to an AK-47, a military-style assault rifle.

12. Your affiant also learned that BAKER applied to the Tallahassee
Community College (“TCC”) Emergency Medical Technician (“EMT”) program.
Your affiant learned that BAKER has had difficulty finding the means to pay for his
future EMT courses, as he has attempted to acquire funding through
www.gofundme.com, a social fundraising platform. In November 2020, BAKER

posted the following on Facebook:
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“I swear on god yall if I can’t raise this money I will start robbing the
rich and pedophiles too. This is my last fundraiser before I commit to
organized crime. I’ve gotten do[sic] much toxic resistance and so little
help from asking nicely that I’ve come to the conclusion that it doesn’t
work. So, if this doesn’t work, I’m not asking any more[sic] and I’m
done being nice. I will pay for this one way or another and I’m willing
to do ANYTHING to ANYONE so I don’t end up homeless and hungry
again. Help keep me honest or watch me compromise my integrity and

character to survive.”

13. In addition to his online postings, BAKER has travelled around the
country to protest against police brutality and the destruction of America, including
travel to Seattle, Washington and Nashville, Tennessee. The following is a
chronological timeline of events and items of concern on BAKER discovered by
both the FBI and Florida Department of Law Enforcement (“FDLE”) through both
open source and investigative means. These items show BAKER’s path toward
radicalization as well as a fair probability for imminent violence.

14. OnJune 26, 2020, BAKER posted a meme on his Facebook page
of a photo of an older woman giving an interview with the statement “I don’t

give a shit, I’m an anarchist and I want to watch capitalist society burn.”
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15. On August 1, 2020, BAKER posted a video to his YouTube account
which portrayed footage from CHAZ/CHOP. In the description section of the video,
BAKER wrote that footage shows him treating the wounded in CHAZ/CHOP and
states that the video is his response to the “domestic terrorists trying to accuse [him]
of murdering the kid [he] helped save” and that he will be filing lawsuits against
those who slandered his name.

16. On October 2, 2020, BAKER authored a Facebook post stating: “This
is war. Are you willing to take up arms with us yet? Buy guns and join us this
November. We are voting from the rooftops.” On that same date, BAKER posted

again that he just purchased a firearm from a grocery store.
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This is war. Are you all willing to take up arms with us yet? Buy guns
and join us this November, We are voting from the rooftops.

i 1 Comment

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17. On October 13, 2020, BAKER was featured in an article “The Fall of
the Chop” on Webflow (https://the-fall-of-chop.webflow.io/). Within the article,
BAKER identifies himself as a “hardcore leftist.” BAKER stated he had traveled
to Seattle to participate in the “Revolution.” BAKER talked about fighting with the
YPG during the interview and stated that once the war was over, “the revolutionary
ideals that made them appealing were applied to the civil rights movement of
today.” The article noted that BAKER “seemed disappointed in the lack of violent
opposition here.” BAKER is quoted as saying, “I told them, if they really wanted a
revolution, we needed to get AK’s and start making bombs. No one listened to me.”

18. On October 14, 2020, BAKER authored another Facebook post
advising of his training. The post states: “did 30 min jiujitsu, 30 min forced march
with full medic backpack and weapons and then ashtanga yoga. The enemy is

training.”
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Did 30 min jiujitsu drills, 30
min forced march with full
medic backpack and weapons

then ashtanga yoga.
The enemy is training.

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19. Ina video titled “Training for the next mission” posted to BAKER’s
YouTube account on October 16, 2019, BAKER is seen shooting an AK-47 weapon
at a gun range and states “I’m coming back to Syria and I’m going to shoot any
Jihadis and Turks that get in our way.”

20. October 20, 2020, BAKER authored a post advising of the upcoming
civil war: “God I hope the right tries a coup Nov 3" cuz (sic) I’m so fucking down

to slay enemies again.”

God | hope the right tries a
coup Nov 3rd cuz I'm so
fucking down to slay enemies
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1@ What you want doesn't Matter, The enemy is training and
serene UN LC Sn amet)
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21. On October 23, 2020, the Tallahassee Police Department (“TPD”). was
attempting to locate a subject possessing outstanding felony warrants who resided
in an apartment in proximity to BAKER and his roommate, E.C.. During the attempt
to locate, TPD officers conducted an investigative stop on E.C., believing he may be
the subject they were looking for. During the detention, BAKER began taking
photos of TPD and United States Marshals Service (“USMS”) unmarked vehicles.
BAKER subsequently posted the photos of the vehicles on his Facebook, seemingly
for intelligence purposes for his following. Your affiant believes that BAKER

understood law enforcement’s presence that day was to probe him indirectly.

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"These cops have been keeping eyes on me since!
Leelee RUB Irmo eC Ra CEL
ere satan’
[ey Zee cel eer
ee UE
My comrades in arms believe this was an indirect
probe to see how we would respond to police force.
Also | heard the cops drilling into the wall after the
Cleared the famity next door out for a few hours.
Welcome to America yall. It's a fascist police state.
coms me
Perils Bsr g
MEER SAC Reicha cl ruc Pie Buz
have to check my weapons to make sure they didnt
take out the firing pins.
LS) ely aed

pe a
‘This is standard cop shit all over the world. Try to
keep up yail.

Pa Cees aed a

y rf a
BA witea reply...

Peta gO este

 

22. On November 3, 2020, BAKER posted “Prepare for war.
#November3rd”. The following day, he posted again on Facebook saying “Enjoying

the peace and quiet until Thursday yall. It may be the last time some of us see peace.”

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23. On this same date, BAKER posted a gif (an emoji or emoticon)
showing “street judo.” He advised that the technique used would be effective against

law enforcement with body armor.

<@}. Dantel Baker
Eee ec mes

stant justice, this works against cops wearing body

neler

SCOT

 

© comment

24. OnNovember 5, 2020, BAKER posted to his Facebook account: “Cops
try to sound professional and official and just end up sounding like cold blooded
nazis.”

25. Between October 28, 2020, and November 11, 2020, BAKER posted
four workout-type videos that contain anarchist-type monologues playing in the
background of the videos. At least one of the background monologues was from

“Audible Anarchist,” a podcast. As depicted in the image below, the November 11,

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2020, video shows BAKER in blue clothing with what appears to be a shotgun

leaning against the wall behind him and a firearm on the shelf behind him.

 

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26. On November 21, 2021, BAKER posted a video to his YouTube
channel that provided a tutorial on first aid. The video is titled: “Basic first aid for
protestors part 1.” In the video, BAKER demonstrates basic first aid techniques.

27. On December 10, 2020, BAKER posted on Facebook: “Trump still
plans on a violent militant coup. If you don’t have guns you won’t (sic) survive
2021.” On this same date, BAKER posted a meme that appears to make a reference

to “eating the rich.”

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J) Daniel Baker

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28. On December 12, 2020, BAKER posted on social media: “Tt’s time for.
some of you to wake up and realize trump is going to put up a fight. Some of your
neighbors will shoot at you.” The following day on December 13, 2020, BAKER
_made a post to his Instagram account trying to sell a piece of artwork and stated in
the caption of the photo that his artwork is "gonna be valuable when I'm in prison.".

29. On December 14, 2020, BAKER posted a photo to his Instagram
account with a photo that read "Hospitalize your local fascist" and captioned the post
"#stabnazis."

30. On December 17, 2020, BAKER made a post to his Instagram account
thaty appears to resemble bombs or explosives being dropped from the sky and
captioned the post "Jacksonville nazis gonne (sic) be real sad when this happens to

their hq." In the comments section of the post, BAKER indicates that the post was

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about a News4Jax article titled "Threatening Letter Left at Door of Duval
Democratic Party HQ."

31. Onor about December 23, 2020, BAKER made a post to his Instagram
account referencing the COVID-19 stimulus checks and captioned it "If you give
2000 we will just buy MOAR GUNZ (sic)." On or about December 25, 2020,
BAKER made a post on his Instagram account with the caption "If you dont take up
arms against trump them (sic) you are coward."

32. On December 29, 2020, BAKER made a post to his Instagram account
advocating for individuals to stop training cops in Juijitsu, that cops kill civilians,
and stated "We are hunting yall. The favelas will rise up and the mcdojos will burn
during the revolution." Your affiant believes that BAKER’s reference to “yall” in
that post was referring to law enforcement officers.

33. On January 8, 2021, in response to the protest at the United States
Capitol, BAKER posted to his YouTube account a video titled, “Terrorist
kidnapping AP journalist.” In the description of the video, BAKER writes “I have
acquired a sponsor (Soros, you know, the antifa card was finally approved) and I and
my donors will be offering cash rewards for information leading to the verified
identification of an and every individual in this video. Don’t worry, I wont (sic) ne
(sic) going to the cops. We have decided to handle this ourselves because the de cops

let them in and all cops are infiltrated. There will be no faith in law enforcement

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until every single department is shut down and replaced by new faces.” BAKER
later commented on the video and stated: “Yall better hope the cops find you before
we do cuz I believe in torturing prisoners for information. Yall better turn yourselves
in cuz we dont intend to involve the cops.”

34. On that same date, another video posted by BAKER titled “cash
rewards for info” shows the chaos at the US Capitol. In the description of that video
BAKER writes: “I’ve been given access to a large sum of money and I will be
offering rewards for any data that can be verified which leads to the identification of

any and everyone in these videos.”

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‘rarists kidnapping AP journalist
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Daniel Baker
“600 subseobers

thave acquired a spansor (Sores, you knows, the antifa card vas finally approved) and land my
donors will be offering cash rewards for information leading to the verified identification of any and
every individual in this video, Dont werry, Lwont ne going to the cops. we have decided ta handle
this ourselves because the de cops let Uiem in and all cops ara infiltrated. thete well be no faiths in
law enforcement unti every single department is shut down and replaced by new faces

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if jay ago
ope the cops find you before we do cuz | believe in torturing prisoners for information. Yall better tum yourselves in cuz we dont intend to involve the cops.

vy REPLY

35. OnJanuary 9, 2021, BAKER posted a video titled “help us id the cops
who let terrorists in.” In the description, BAKER writes: “these cops let terrorists
into the Capitol building. I will send money to anyone who provides me with
verifiable intel that can id these traitors.”

36.  OnJanuary 12, 2021, after returning from a temporary Facebook profile
ban, BAKER wrote the following: “Holy fucking shit my ban is over. Yall. So much
has happened. Death to amerikka of course, fuck the president, current and elect.” —
Within the same time frame, BAKER changed his profile picture to him holding a
Kalashnikov pattern rifle with a sweatshirt honoring Rob Grodt, an American
anarchist killed fighting for the YPG.

37. BAKER also changed his cover picture to several soldiers posing
behind YPG and Antifa (Antifascist Action) flags holding more AK-47 style rifles.
Lastly, within the same time span, BAKER posts: “Aw, it’s yalls (sic) first civil

war!”

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MP, Daniel Baker
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38. On January 12, 2021, BAKER created an event on Facebook titled

“Defend Tallahassee.”

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JAN DEFEND
17 TALLAHASSEE

Public : Event: by Daniel Baker

x ~ aA
Interested Going Share

Jan 17 at 1 AM — Jan 24 at 11
On

5 days from now.

Railroad Square Art District
618 McDonnell Di, Tallahassee, FL 32310

 

39. Under the details section of the “Defend Tallahassee” Facebook

event page, BAKER posted the following on January 12, 2021:

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Armed racist mobs have planted the Confederate flag
in. the nations Capitol while announcing their plans to
storm every American state Capitol on or around
nauguration day. We will fight back. We will circle the
tate Capitol and let them fight the cops and take the
uilding. Then we will encircle them and trap them
nside. We will drive them out of Tallahassee with
very caliber available. They.are staging an armed
akeover.so only an armed community can stop them
We can win! We have a duty to and a duty to win. We
ave already recruited an army armed combat
eterans and volunteers. As we grow we must
emember security. DO NOT RSVP TO. THIS EVENT!
UST SHOW UP. WE ARE CHAOTIC MALESTROM OF
ILLING HANDS, The plan is for the peaceful friends
o March,from Railroad square and MLK to the Capito!
ut DO NOT ENTER! DO NOT HELP COPS OR THE
_ ENEMY! We must encircle them.so they cannot
_ escape down Apalachee Parkway. Militant-friends wil
_ tide ahead in all sorts of wheeled vehicles, bikes,
cooters, atv, motorcycle, car, truck and SUV. They wil
ush down Tennessee St and around Cascades Park
_ with vehicles and coral the trump terrorists into the
apitol building. The enemy will have high power rifle
nd explosives. The enemy is coming from_every
acist communily.in the area, Including Alabama and
eorgia. REMEMBER THAT THE COPS WONT.
ROTECT US BECAUSE THE COPS AND. KLAN.GO
AND IN-HAND! If you are afraid to die fighting the
| enemy, then stay in bed and live. Call all of your
tlends and Rise Up!

 

40. From my training and experience, your affiant knows that Facebook’s
networks and servers are hosted in California and that BAKER is currently residing
in Tallahassee, Florida.

41. BAKER then posted: “We advocate a diversity of tactics and
organizing elsewhere than this event page. Peaceful friends are welcome and will be

protected. Direct action friends are also welcome and encouraged.”

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RECENT ACTIVITY

ed) DET etre

We advocate a diversity of tactics and organizing elsewhere than this
event page. Peaceful friends are welcome and will be protected. Direct
action friends are also welcome and encouraged.

Tec RG i: Peli

Write a comment...

Press Enter to post.

 

42. On January 14, 2021, BAKER posted several items to his social media
as well as on the WIXL News page. Many of the posts on the WTXL page are
mirrored from his own page. The first post on his page states: “Perspective for
Floridians, Theres only about 50,000 cops in florida and about 433,000 guns. 5 and
half million trump supporters. Only 422 cops in Tallahassee. #wariscoming.” The
post contains pictures of registered guns in different states, State of Florida election
results and google searches showing Tallahassee Police Department, Florida
Highway Patrol and Leon County Sheriff's Office sworn police officer numbers.
Further down in the comments section of the post, BAKER asks his friend Lyra

Lorelei if her dad may “want to sell an ak or pistol???”

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Oar Bast |
Yeah but my crazy dad owns like 1/3 of them &
Fee ee eer WP 1

« Hide 11 Replies
Eee eels!
Oh nevermind, you said registered.
eee mead

ert eee, Cs

Lyra Lorelei DONT FORGET TO PAY THEM!
ee) mee

Lyra Loretei
Daniel Baker | meant the guns lol

hee ae om

Daniel Baker
Lyra Lorelei | could use a few more, like one or 2...

Like Reply Sh

PRE sr cig
cM Relea Belles ORCS ELE) ee)

apse eee
Rico ely ane

ee eele sis

Daniel Baker oh he’s hoarding lol not likely
Like Reply Sh

ere wel
Daniel Baker I'll ask tho

cae eames wl

ETE) Cie
Lyra Lorelei damn that’s ok we got enough for two
anyway | like like to have jike 3 per

eee nee :

PET e elcid
ie eee BU Licy

en ee

Peter Bergman

Daniel Baker come to chicago we got truck loads
take your pick we are ready up north -
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Birla

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43. OnJanuary 14,2021, BAKER posted the “Call to Arms January 20th!”

image below as a comment to a news article by a local Tallahassee-based television

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station. BAKER’s comment was posted in response to a news article that stated
TPD will be “fully staffed and prepared ahead of any potential Inauguration Day

protests.”

CALL TO ARMS JANUARY 20TH!

Armed racists have planted the confederate flag in America’s Capitol
_jas they openly declared that they WILL CONTINUE to wage an ARMED COUP
oat every American Capitol, including Tallahassee, on Inauguration
Day.

We need ALL FLORIDA RESIDENTS to. RISE UP! Here. in -Florida we must
encircle terrorists who attack the Capitol! Let them take the capitol
and fight with. cops,

SURROUND “THEM. AND ‘TRAP. THEM -INSIDE!

Tally residents have answered the call: ito arms, including combat
veterans. Join us! Help protect. your community. fromterrorists. We
WILL protect capitol RESIDENTS and. CIVILIANS from. armed racist mobs

WITH EVERY CALIBER AVAILABLE.

This is an armed COUP. and can ‘only. be stopped by: an armed community!

If you're afraid to die fighting the enemy, stay in bed and live.

[pet s://wwy crn. com/2027/01/08/us/online-extremism-inauguration-capit
el-invs/index. him

 

44. Right after the screenshot of the post, a YouTube video shows BAKER
printing the flyers. The title of the video is “FLORIDA THIS IS A CALL TO
ARMS.”

45. These most recent posts on his page were also posted to the WI'XL

Facebook page. BAKER posted pictures of searches he conducted in an attempt to

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determine how many law enforcement officers are employed by Leon County

Sheriffs Office and by Florida Highway Patrol.

 

 

Ill

Google @

Q. how many leon county sheriff deputies i &

All News Images Shopping Videos Maps

The Uniform Patrol Division of the Leon County
Sheriff's Office consists of 88 Deputy Sheriffs
and Supervisors who provide world class law
enforcement services to a 702 square mile
area. The Deputies are assigned to one of four
shifts and patrol all of Leon County including
the City of Tallahassee.

C} Leon County Sheriff > departments
Uniform Patrol - Leon County Sheriff's
Office

@ About featured snippets #8 Feedback

€} Leon County Sheriff

Leon County Sheriff's Office

The Online Inmate Search is for informational purposes only
and should NOT be relled upon for any type of legal action or
criminal background checks.

Inmate search Daily Booking report Contact Us Der

 

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(  @ google.com/search?genun @) @

= Google é
OQ. number of florida state troopers Re
All News [mages Shopping Videos Maps

2,475

The Patrol Is authorized for 1,946 sworn positions and 529
non-sworn positions for a total of 2,475 full time
employees.

—~ FLHSMV (.gov) > about-fhp
About FHP - Fiorida Department of
Highway Safety and Motor Vehicles

@ > About featured snippets (8 Feedback

People also ask

How many Florida state troopers are there? v
What Is the number for the Florida Highway Patrol? v
How much does a state trooper make in Florida? v
Can Florida state troopers have tattoos? v

Feedback

———— ee
Il. CONCLUSION
WHEREFORE, for the reasons set forth above, your affiant respectfully
submits that probable cause does exist and therefore request that the court approve

this Criminal Complaint charging DANIEL ALAN BAKER with violating Title

18, United States Code, Section 875(c).

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Respectfully submitted,

N tle. File

 

Nicholas Marti
Special Agent
Federal Bureau of Investigation

Subscribed and sworn to before me on this _% Ry of January, 2021.

Chae. (Lock.

CHARLES A. STAMPELOS
UNITED STATES MAGISTRATE JUDGE

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